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13
                                UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15
       JERRETT BOEHNING, Individually and                   Case No.: 3:21-CV-03671-JD
16     on Behalf of All Others Similarly Situated,
17                                Plaintiffs,               CLASS ACTION
            v.
18                                                          NOTICE OF MOTION AND
       CONTEXTLOGIC INC., PIOTR
       SZULCZEWSKI, RAJAT BAHRI, BRETT                      MOTION OF SALEH DORON
19
       JUST, JULIE BRADLEY, ARI EMANUEL,                    GAHTAN FOR CONSOLIDATION,
20     JOE LONSDALE, TANZEEN SYED,                          APPOINTMENT AS LEAD
       STEPHANIE TILENIUS, HANS TUNG,                       PLAINTIFF, AND APPROVAL OF
21     JACQUELINE RESES, GOLDMAN SACHS                      SELECTION OF COUNSEL;
       & CO. LLC, J.P. MORGAN SECURITIES                    MEMORANDUM OF POINTS AND
22     LLC, BofA SECURITIES, INC., CITIGROUP
       GLOBAL MARKETS INC., DEUTSCHE                        AUTHORITIES IN SUPPORT
       BANK SECURITIES INC., UBS                            THEREOF
23
       SECURITIES LLC, RBC CAPITAL
24     MARKETS, LLC, CREDIT SUISSE                         Date: August 26, 2021
       SECURITIES (USA) LLC, COWEN AND                     Time: 10:00 a.m.
25     COMPANY, LLC, OPPENHEIMER & CO.                     Courtroom: 11 – 19th Floor
       INC., STIFEL, NICOLAUS & COMPANY,                   Judge: James Donato
26     INCORPORATED, WILLIAM BLAIR

27   Caption continued on next page
28

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 1     & COMPANY, L.L.C., ACADEMY
       SECURITIES, INC., LOOP CAPITAL
 2     MARKETS LLC and R. SEELAUS & CO.,
       LLC,
 3
                             Defendants.
 4
       YEN HOANG, Individually and on Behalf of             Case No. 3:21-cv-03930-MMC
 5     all Others Similarly Situated,
                                    Plaintiff,
 6
             v.
 7     CONTEXTLOGIC, INC., PETER
       SZULCZEWSKI, RAJAT BAHRI, BRETT
 8     JUST, JULIE BRADLEY, ARI EMANUEL,
       JOE LONSDALE, TANZEEN SYED,
 9     STEPHANIE TILENIUS, HANS TUNG,
       JACQUELINE RESES, GOLDMAN SACHS
10     & CO. LLC, J.P. MORGAN SECURITIES
       LLC, BOFA SECURITIES, INC.,
11     CITIGROUP GLOBAL MARKETS INC.,
       DEUTSCHE BANK SECURITIES INC., UBS
12     SECURITIES LLC, RBC CAPITAL
       MARKETS, LLC, CREDIT SUISSE
13     SECURITIES (USA) LLC, COWEN AND
       COMPANY, LLC, OPPENHEIMER & CO.
14     INC., STIFEL, NICOLAUS & COMPANY,
       L.L.C., ACADEMY SECURITIES, INC.,
15     LOOP CAPITAL MARKETS LLC, and R.
       SEELAUS & CO., LLC,
16
                                    Defendants.
17
       ALBERTO ASMAT, Individually and On                   Case No. 3:21-cv-05015-CRB
18     Behalf of All Others Similarly Situated,
                                   Plaintiff,
19
            v.
20     CONTEXTLOGIC INC., PIOTR
       SZULCZEWSKI, RAJAT BAHRI, BRETT
21     JUST, JULIE BRADLEY, ARI EMANUEL,
       JOE LONSDALE, TANZEEN SYED,
22     STEPHANIE TILENIUS, HANS TUNG, and
       JACQUELINE RESES,
23
                                   Defendants.
24

25   Caption continued on next page

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 1
       PHILLIP LAM, on behalf of all others                 Case No. 3:21-cv-05411-CRB
 2     similarly situated,
                               Plaintiff,
 3
             vs.
 4     CONTEXTLOGIC, INC., PETER
       SZULCZEWSKI, RAJAT BAHRI, BRETT
 5     JUST, JULIE BRADLEY, ARI MANUEL,
       JOE LONSDALE, TANZEEN SYED,
 6     STEPHANIE TILENIUS, HANS TUNG,
       JACQUELINE RESES, GOLDMAN SACHS
 7     & CO. LLC, J.P. MORGAN SECURITIES
       LLC, BOFA SECURITIES, INC.,
 8     CITIGROUP GLOBAL MARKETS INC.,
       DEUTSCHE BANK SECURITIES INC., UBS
 9     SECURITIES LLC, RBC CAPITAL
       MARKETS, LLC, CREDIT SUISSE
10     SECURITIES (USA) LLC, COWEN AND
       COMPANY, LLC, OPPENHEIMER & CO.
11     INC., STIFEL, NICOLAUS & COMPANY,
       L.L.C., ACADEMY SECURITIES, INC.,
12     LOOP CAPITAL MARKETS LLC, AND R.
       SEELAUS & CO., LLC,
13
                               Defendants.
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 1   Other Authorities

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 1                                NOTICE OF MOTION AND MOTION

 2   TO:       ALL PARTIES AND THEIR COUNSEL OF RECORD

 3             PLEASE TAKE NOTICE that Lead Plaintiff Movant Saleh Doron Gahtan (“Gahtan”)

 4   by and through his counsel, hereby moves this Court pursuant to Section 21D(a)(3)(B) of the

 5   Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78u-4(a)(3)(B) and Section

 6   27(a)(3)(B) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C. § 77z-1(a)(3)(B), as

 7   amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), for the entry

 8   of an Order: (1) consolidating the above-captioned actions (the “Actions”) pursuant to Rule 42 of

 9   the Federal Rules of Civil Procedure; (2) appointing Gahtan as Lead Plaintiff pursuant to the
10   PSLRA; (3) approving the selection of Labaton Sucharow LLP (“Labaton Sucharow”) as Lead
11   Counsel for the Class and the Schall Law Firm (“Schall Law”) as Liaison Counsel for the Class
12   (the “Motion”); and (4) granting such other and further relief as the Court may deem just and
13   proper.
14             This Motion is made on the grounds that Gahtan believes he is the “most adequate
15   plaintiff” under the PSLRA and should therefore be appointed Lead Plaintiff. Specifically,
16   Gahtan believes he has the “largest financial interest” in the relief sought by the Class in the
17   Actions. Gahtan also otherwise satisfies the requirements of Rule 23 of the Federal Rules of
18   Civil Procedure (“Rule 23”) because his claims are typical of other Class members’ claims, and
19   because he will fairly and adequately represent the Class.
20             This Motion is based upon the accompanying Memorandum of Law in support thereof,
21   the Declaration of Brian Schall (“Schall Decl.”) filed herewith, the pleadings and other filings
22   herein, and such other written or oral argument as may be permitted by the Court.
23             WHEREFORE, Gahtan respectfully requests that the Court grant his motion and enter
24   an Order: (1) consolidating the Actions; (2) appointing Gahtan as Lead Plaintiff; (3) approving
25   Gahtan’s selection of Labaton Sucharow as Lead Counsel for the Class and Schall Law as
26   Liaison Counsel for the Class; and (4) granting such other and further relief as the Court may
27   deem just and proper.
28

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 1                              STATEMENT OF ISSUES TO BE DECIDED

 2             1.     Whether the Court should consolidate the above-captioned actions pursuant to

 3   Rule 42(a) of the Federal Rules of Civil Procedure;

 4             2.     Whether the Court should appoint Gahtan as Lead Plaintiff; and

 5             3.     Whether the Court should approve of Gahtan’s selection of Labaton Sucharow as

 6   Lead Counsel for the Class and Schall Law as Liaison Counsel to the Class.

 7                         MEMORANDUM OF POINTS AND AUTHORITIES

 8   I.        PRELIMINARY STATEMENT

 9             The above-captioned securities class actions assert claims pursuant to the Securities Act
10   and the Exchange Act on behalf of purchasers of ContextLogic Inc. (“ContextLogic” or the
11   “Company”) securities pursuant and/or traceable to the Company’s December 16, 2020 initial
12   public stock offering (“IPO”), and open-market purchasers of ContextLogic securities between
13   December 16, 2020 and May 12, 2021, inclusive (the “Class Period”), and who were damaged
14   thereby (the “Class”). 1
15             In securities class actions, the PSLRA requires district courts to resolve consolidation

16   prior to the appointment of a lead plaintiff. See 15 U.S.C. § 78u-4(a)(3)(B)(ii). Here, the

17   Actions should be consolidated because they each involve identical legal and factual questions.

18   See Fed. R. Civ. P. 42(a). As soon as practicable after its decision on consolidation, the PSLRA

19   then instructs this Court to appoint the “most adequate plaintiff” to serve as lead plaintiff. 15

20   U.S.C. § 78u-4(a)(3)(B)(i). In that regard, the Court must determine which member of the Class

21   has the “largest financial interest” in the relief sought by the Class, and also whether that movant

22   has made a prima facie showing of typicality and adequacy under Rule 23. 15 U.S.C. § 78u-

23   4(a)(3)(B)(iii)(I).

24             Gahtan respectfully submits that he should be appointed Lead Plaintiff because he has the

25   “largest financial interest” in this litigation and has made the requisite showing of typicality and

26

27
           1
          For ease of reference, Gahtan only cites to the relevant sections in the Exchange Act,
28   which are identical in substance to those of the Securities Act under the PSLRA.

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 1   adequacy required by the standards of the PSLRA. As discussed herein, Gahtan incurred

 2   $11,755,540.98 in losses as a result of his transactions in ContextLogic securities during the

 3   Class Period. 2 In light of this significant loss, Gahtan has a substantial financial interest in the

 4   relief sought by this litigation—an interest believed to be greater than that of any competing

 5   movant. Gahtan also meets the typicality and adequacy requirements of Rule 23 because his

 6   claims are typical of those of absent Class members, and because he will fairly and adequately

 7   represent the interests of the Class. Gahtan has further demonstrated his adequacy through his

 8   selection of Labaton Sucharow as proposed Lead Counsel for the Class. Labaton Sucharow is a

 9   nationally recognized securities class action firm that has recovered billions of dollars for the
10   benefit of injured investors and has the expertise and resources necessary to handle litigation of
11   this complexity and scale.
12             Accordingly, Gahtan is the “most adequate plaintiff,” and respectfully requests that the
13   Court appoint him Lead Plaintiff and approve his selection of counsel.
14   II.       ARGUMENT
15             A.     The Related Actions Should Be Consolidated
16             The PSLRA requires the Court to consolidate the Related Actions before appointing a
17   lead plaintiff. See 15 U.S.C. §78u-4(a)(3)(B)(ii). Consolidation pursuant to Rule 42(a) is proper
18   when actions involve common legal and factual questions. Fed. R. Civ. P. 42(a). “In applying
19   this standard, courts have found that ‘[c]onsolidation of private securities fraud class actions
20   arising from the same alleged misconduct is generally appropriate.’” GGCC, LLC v. Dynamic
21   Ledger Sols., Inc., No. 17-cv-06779-RS, 2018 WL 1388488, at *2 (N.D. Cal. Mar. 16, 2018)
22   (citation omitted). Furthermore, “[t]he district court has broad discretion . . . to consolidate cases
23   pending in the same district.” Invs. Research Co. v. U.S. Dist. Ct. for Cent. Dist., 877 F.2d 777,
24   777 (9th Cir. 1989).
25

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           2
           A Copy of Gahtan’s PSLRA Certification (“Certification”) is attached as Exhibit A to the
27   accompanying Schall Decl., which sets forth all transactions for Gahtan in ContextLogic
     securities during the Class Period. In addition, a chart reflecting the calculation of Gahtan’s
28   losses as a result of his Class Period transactions in ContextLogic securities (“Loss Analysis”) is
     attached as Exhibit B to the Schall Decl.
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 1          Consolidation of the related Actions is proper where, as here, the actions involve

 2   common questions of law and fact such that consolidation would prevent unnecessary cost or

 3   delay in adjudication. Each of the actions has been filed in this District alleging similar factual

 4   and legal grounds to support allegations of violations of the Securities Act and the Exchange Act

 5   arising from the public dissemination of false and misleading information to investors.

 6   Accordingly, the actions should be consolidated pursuant to Rule 42(a) for all purposes.

 7          B.       Gahtan Should Be Appointed Lead Plaintiff

 8          Gahtan respectfully submits that he is the presumptively “most adequate plaintiff”

 9   because he has complied with the PSLRA procedural requirements, holds the largest financial
10   interest of any qualified movant, and otherwise satisfies Rule 23’s typicality and adequacy
11   requirements.
12                   1.     The PSLRA Standard for Appointing Lead Plaintiff
13          The PSLRA provides a straightforward, sequential procedure for selecting lead plaintiff
14   for “each private action arising under [the Exchange Act] that is brought as a plaintiff class
15   action pursuant to the Federal Rules of Civil Procedure.” See 15 U.S.C. § 78u-4(a)(l); see also
16   15 U.S.C. § 78u-4(a)(3)(B). First, Section 21D(a)(3)(A)(i) of the Exchange Act, as amended by
17   the PSLRA, specifies that:
18                   Not later than 20 days after the date on which the complaint is filed,
                     the plaintiff or plaintiffs shall cause to be published, in a widely
19                   circulated national business-oriented publication or wire service, a
                     notice advising members of the purported plaintiff class --
20
                     (I)    of the pendency of the action, the claims asserted therein,
21                   and the purported class period; and
22                   (II)    that, not later than 60 days after the date on which the notice
                     is published, any member of the purported class may move the court
23                   to serve as lead plaintiff of the purported class.
24   15 U.S.C. § 78u-4(a)(3)(A)(i).
25          Next, under the PSLRA, a court is to consider any motion made by class members and
26   appoint the movant that the court determines to be most capable of adequately representing the
27   interests of the class as lead plaintiff. Specifically, the PSLRA provides that a court:
28                   shall appoint as lead plaintiff the member or members of the
                     purported plaintiff class that the court determines to be most capable
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 1                   of adequately representing the interests of class members (. . . the
                     “most adequate plaintiff”) . . . .
 2
     15 U.S.C. § 78u-4(a)(3)(B)(i).
 3
             In adjudicating a lead plaintiff motion, a court shall adopt a presumption that the “most
 4
     adequate plaintiff” is the person who: (1) filed a complaint or made a motion to serve as lead
 5
     plaintiff; (2) has the largest financial interest in the relief sought by the class; and (3) otherwise
 6
     satisfies the requirements of Rule 23. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I); see also In re
 7
     Cavanaugh, 306 F.3d 726, 729-30 (9th Cir. 2002) (discussing three-step competitive process for
 8
     selecting a lead plaintiff). This presumption “‘may be rebutted only upon proof . . . that the
 9
     presumptively most adequate plaintiff [ ] will not fairly and adequately protect the interests of
10
     the class’” or “is subject to unique defenses that render such plaintiff incapable of adequately
11
     representing the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II); see also In re Fastly, Inc. Sec. Litig.,
12
     No. 20-cv-06024-PJH, 2021 WL 493386, at *2 (N.D. Cal. Feb. 10, 2021) (same).
13
             C.      Gahtan Is the “Most Adequate Plaintiff”
14
                     1.      Gahtan Satisfied the PSLRA’s Procedural Requirements
15
             Gahtan filed this motion to serve as Lead Plaintiff in a timely manner. Pursuant to 15
16
     U.S.C. § 78u-4(a)(3)(A)(i), on May 17, 2021, counsel for the Plaintiff in the first-filed case
17
     caused notice regarding the pending nature of this case to be published on a widely circulated,
18
     national, business-oriented news reporting service. See Notice, Schall Decl. Ex. C. Thus, as
19
     permitted by the PSLRA, any person or group of persons may apply to be appointed Lead
20
     Plaintiff within sixty (60) days after publication of the notice, i.e., on or before July 16, 2021.
21
     Gahtan filed his motion within the required period.
22
                     2.      Gahtan Has a Substantial Financial Interest
23
             The PSLRA requires a court to adopt the rebuttable presumption that “the most adequate
24
     plaintiff . . . is the person or group of persons that . . . has the largest financial interest in the
25
     relief sought by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii); Cavanaugh, 306 F.3d at 730.
26
     During the Class Period, Gahtan suffered substantial losses of $11,755,540.98 as a result of his
27
     transactions in ContextLogic securities. See Loss Analysis, Schall Decl. Ex. B. Gahtan is
28

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 1   presently unaware of any other movant with a larger financial interest in the outcome of the

 2   Action. Consequently, and because he also satisfies Rule 23’s typicality and adequacy

 3   requirements, as discussed below, Gahtan is entitled to the legal presumption that he is the “most

 4   adequate plaintiff.”

 5                   3.      Gahtan Satisfies Rule 23’s Typicality and Adequacy Requirements

 6           In addition to possessing a significant financial interest, a lead plaintiff must also

 7   “otherwise satisf[y] the requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15

 8   U.S.C. §78u4(a)(3)(B)(iii)(I)(cc). Rule 23 requires that “the claims or defenses of the

 9   representative parties are typical of the claims or defenses of the class; and [that] the
10   representative parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.
11   23(a)(3)-(4); Cavanaugh, 306 F.3d at 730 (focusing “in particular” on typicality and adequacy at
12   the lead plaintiff stage). However, at the lead-plaintiff-selection stage, all that is required is a
13   preliminary showing that the lead plaintiff’s claims are typical and adequate. See, e.g., In re
14   Solar City Corp. Sec. Litig., No. 16-CV-04686-LHK, 2017 WL 363274, at *5 (N.D. Cal. Jan. 25,
15   2017) (“Although the inquiry at this stage of the litigation is not as searching as the one triggered
16   by a motion for class certification, the proposed lead plaintiff must make at least a preliminary
17   showing that it meets the typicality and adequacy factor.”) (quoting Zhu v. UCBH Holdings, Inc.,
18   682 F. Supp. 2d 1049, 1053 (N.D. Cal. 2010)).
19           “The typicality requirement focuses on ‘whether other members have the same or similar
20   injury, whether the action is based on conduct which is not unique to the named plaintiffs, and
21   whether other class members have been injured by the same course of conduct.’” Fastly, Inc.,
22   2021 WL 493386, at *6 (quoting Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir.
23   1992)). Here, the claims that Gahtan asserts are typical of the claims of the other members of the
24   putative Class because, like all other Class members, Gahtan: (1) purchased ContextLogic
25   securities during the Class Period and/or pursuant or traceable to the IPO; (2) in reliance on
26   Defendants’ false and misleading statements; and (3) suffered harm when defendants’ alleged
27   misconduct was revealed. Because the claims that Gahtan asserts are based on the same legal
28   theories and arise “from the same event or practice or course of conduct that gives rise to the

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 1   claims of other class members,” typicality is satisfied. See Newberg, et al., NEWBERG ON CLASS

 2   ACTIONS, §3:13 (4th ed. 2002). Thus, Gahtan satisfies the typicality requirement.

 3          “The adequacy requirement is met if there are no conflicts between the representative and

 4   class interests and the representative's attorneys are qualified, experienced, and generally able to

 5   conduct the litigation.” Fastly, Inc., 2021 WL 493386, at *6 (quoting Hurst v. Enphase Energy,

 6   Inc., 2020 WL 7025085, at *5 (N.D. Cal. Nov. 30, 2020)). Gahtan is adequate as he is not aware

 7   of any conflicts between his claims and those asserted on behalf of the putative class and is not

 8   subject to any unique defenses. Moreover, after discussions with counsel concerning the facts of

 9   this case, the responsibilities of a lead plaintiff and criteria for appointment, and most
10   importantly, the qualifications of his proposed counsel, Gahtan selected the law firm of Labaton
11   Sucharow as proposed Lead Counsel and Schall Law as proposed Liaison Counsel. See
12   Declaration of Saleh Doron Gahtan, Schall Decl. Ex. D. As discussed infra Section III.D,
13   Labaton Sucharow is highly experienced in prosecuting securities class actions vigorously and
14   efficiently. See 15 U.S.C. §§ 78u-4(a)(3)(A)(i)(II) and (B)(v).
15          As detailed in his Declaration, Gahtan determined to seek the role of Lead Plaintiff
16   because he believes in the importance of this matter in that it alleges serious misconduct that
17   caused substantial losses to investors and raises significant corporate governance concerns. Id.
18   ¶¶ 2, 4. In this regard, Gahtan is strongly motivated to recover investment losses in
19   ContextLogic securities on behalf of himself and the Class, and therefore believes it is necessary
20   this litigation be entrusted to highly qualified counsel as Lead Counsel. Id. ¶¶ 4-7.
21          Accordingly, Gahtan satisfies the adequacy requirement.
22          D.      The Court Should Approve Gahtan’s Choice of Counsel
23          The PSLRA vests authority in the lead plaintiff to select and retain lead counsel for the
24   class, subject to the court’s approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v). As such, this Court
25   should not disturb the lead plaintiff’s choice of counsel unless necessary to “protect the interests
26   of the class.” 15 U.S.C. §78u-4(a)(3)(B)(iii)(II)(aa); see also In re Cohen v. United States, 586
27   F.3d 703, 712 (9th Cir. 2009) (“[I]f the lead plaintiff has made a reasonable choice of counsel,
28   the district court should generally defer to that choice.”) (citing In re Cendant Corp. Litig., 264

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 1   F.3d 201, 276 (3d Cir. 2001)); see also Cavanaugh, 306 F.3d at 734 (“Selecting a lawyer in

 2   whom a litigant has confidence is an important client prerogative and we will not lightly infer

 3   that Congress meant to take away this prerogative from securities plaintiffs. And, indeed, it did

 4   not. While the appointment of counsel is made subject to the approval of the court, the Reform

 5   Act clearly leaves the choice of class counsel in the hands of the lead plaintiff.”).

 6           Here, Gahtan has selected Labaton Sucharow, highly qualified counsel, to serve as Lead

 7   Counsel for the proposed Class. Labaton Sucharow has significant experience in prosecuting

 8   securities class actions and has excelled as lead counsel in numerous landmark securities class

 9   actions throughout the United States on behalf of defrauded investors. Labaton Sucharow served
10   as a lead counsel in In re American International Group, Inc. Securities Litigation, No. 04-cv-
11   8141 (S.D.N.Y.), in which it achieved a recovery totaling more than $1 billion for injured
12   investors, secured a $294.9 million recovery in In re Bear Stearns Cos., Inc. Securities,
13   Derivative, & ERISA Litigation, No. 08-md-1963 (S.D.N.Y.), in which it served as co-lead
14   counsel, and secured a $117.5 million settlement in In re Mercury Interactive Corp. Securities
15   Litigation, No. 05-cv-3395 (N.D. Cal.). In addition, Labaton Sucharow was a lead counsel in In
16   re Countrywide Financial Corp. Securities Litigation, No. 07-cv-5295 (C.D. Cal.), which
17   achieved a settlement of $624 million—one of the largest securities fraud settlements arising
18   from the financial crisis of 2007 and 2008, and also secured a $160.5 million settlement as lead
19   counsel in In re Broadcom Corp. Class Action Litigation, No. 06-cv-05036 (C.D. Cal.). Labaton
20   Sucharow presently serves as lead and co-lead counsel in several significant investor class
21   actions. See Schall Decl., Ex. E.
22           Likewise, Schall Law is well qualified to represent the Class as Liaison Counsel. Schall
23   Law maintains an office in this Circuit and is thus qualified to represent the Class as Liaison
24   Counsel. See Manual for Complex Litigation (Fourth) § 10.221 (2004) (discussing role of
25   liaison counsel and noting that “[l]iaison counsel will usually have offices in the same locality as
26   the court.”).
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 1          Accordingly, the Court may be assured that by granting this motion and approving

 2   Gahtan’s selection of Labaton Sucharow as Lead Counsel and Schall Law as Liaison Counsel,

 3   the Class will receive the highest caliber of legal representation.

 4                                             CONCLUSION

 5          For the foregoing reasons, Gahtan respectfully requests that the Court: (1) consolidate the

 6   Actions; (2) appoint Gahtan as Lead Plaintiff; (3) approve the selection of Labaton Sucharow as

 7   Lead Counsel for the Class and Schall Law as Liaison Counsel for the Class; and (4) grant such

 8   other and further relief as the Court may deem just and proper.

 9   DATED: July 16, 2021                           Respectfully submitted,
10                                                  /s/ Brian Schall

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16                                                  Local Counsel for Proposed Lead Plaintiff Saleh
                                                    Doron Gahtan and Proposed Liaison Counsel for
17
                                                    the Class
18
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24                                                  Counsel for Proposed Lead Plaintiff Saleh Doron
                                                    Gahtan and Proposed Lead Counsel for the Class
25

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 1                                   CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on July 16, 2021, I electronically filed the foregoing with the

 3   Clerk of Court using the CM/ECF system, which will send a Notice of Electronic Filing to all

 4   counsel of record.

 5                                                               /s/ Brian Schall
                                                                 Brian Schall (#290685)
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